

de Lara Nunez v CCNY Constr., Inc. (2020 NY Slip Op 06359)





de Lara Nunez v CCNY Constr., Inc.


2020 NY Slip Op 06359


Decided on November 05, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 05, 2020

Before: Acosta, P.J., Singh, Kennedy, Shulman, JJ. 


Index No. 154388/15 Appeal No. 12288 Case No. 2019-05102 

[*1]Ruben de Lara Nunez, Plaintiff-Appellant,
vCCNY Construction, Inc., et al., Defendants-Respondents, Thistle Contracting, et al., 
	Defendants.
CCNY Construction, Inc., Third-Party Plaintiff-Respondent,
vForthill Construction Corp., Third-Party Defendant-Respondent.


Mitchell Dranow, Sea Cliff, for appellant.
Montfort, Healy, McGuire &amp; Salley LLP, Garden City (Donald S. Neumann, Jr. of counsel), for CCNY Construction, Inc., respondent.
Shaub, Ahmuty, Citrin &amp; Spratt, LLP, New York (Jonathan P. Shaub of counsel), for West 161st Street Associates, LLC, and Sutton Management Corp., respondents.



Appeal from order, Supreme Court, New York County (Robert R. Reed, J.), entered on or about October 9, 2019, which granted defendant CCNY Construction, Inc.'s and defendants West 161 St. Associates LLC and Sutton Management Corp.'s motions for summary judgment dismissing the complaint as against them, unanimously dismissed, without costs, as untimely.
Plaintiff should have appealed from the so-ordered transcript entered September 29, 2019, and served with notice of entry, rather than the substantively identical short-form order entered on or about October 9, 2019 (see Anonymous v Gerald R., 155 AD3d 514 [1st Dept 2017]; Panasia Estate, Inc. v Broche, 103 AD3d 426, 426 [1st Dept 2013]; L.J.B. Corp. v City of New York, 182 AD2d 485, 487 [1st Dept 1992], lv denied 80 NY2d 755 [1992]). The time to appeal from the so-ordered transcript expired on October 20, 2019, more than one month before plaintiff filed his notice of appeal from the short-form order.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 5, 2020








